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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF ALABAMA
NORTHERN DIVISION

UNITED STATES OF AMERICA )
)
)
V. ) CASE NO. 2:06-cr-71-MEF
)
BERNETTA LASHAY WILLIS )
VERDICT

1. As to Count 1 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
Xx Guilty

of the charge as set forth in the Indictment.

2. As to Count 2 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
X Guilty

of the charge as set forth in the Indictment.
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3. As to Count 3 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
X Guilty

of the charge as set forth in the Indictment.

4. As to Count 4 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
X Guilty

of the charge as set forth in the Indictment.

5. As to Count 5 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
x Guilty

of the charge as set forth in the Indictment.
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6. As to Count 6 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
_ XxX _____sdGuilty

of the charge as set forth in the Indictment.

7. As to Count 7 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

XX _—_sONott Guilty
Guilty

of the charge as set forth in the Indictment.

8. As to Count 8 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty

X Guilty

of the charge as set forth in the Indictment.
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9. As to Count 9 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
x Guilty

of the charge as set forth in the Indictment.

10. As to Count 10 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

x Not Guilty
Guilty

of the charge as set forth in the Indictment.

11. As to Count 11 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
X Guilty

of the charge as set forth in the Indictment.
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12. As to Count 12 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
x Guilty

of the charge as set forth in the Indictment.

13. As to Count 13 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

_ xX sot Guilty
Guilty

of the charge as set forth in the Indictment.

14. As to Count 14 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
Xx Guilty

of the charge as set forth in the Indictment.
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15. As to Count 15 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty

_ XxX ____ Guilty

of the charge as set forth in the Indictment.

16. As to Count 16 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
Xx Guilty

of the charge as set forth in the Indictment.

17. As to Count 17 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
X Guilty

of the charge as set forth in the Indictment.
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18. As to Count 18 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
_ XK Guilty

of the charge as set forth in the Indictment.

19. As to Count 19 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
xX Guilty

of the charge as set forth in the Indictment.

20. As to Count 20 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
X Guilty

of the charge as set forth in the Indictment.
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21. As to Count 21 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

x Not Guilty
Guilty

of the charge as set forth in the Indictment.

22. As to Count 22 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
x Guilty

of the charge as set forth in the Indictment.

23. As to Count 23 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
Xx Guilty
of the charge as set forth in the Indictment.

If you find the defendant guilty of the offense charged in Count 23 of the
Indictment, did the defendant brandish the firearm in the commission of the offense?

No

x Yes
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24. As to Count 24 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis

Not Guilty
x Guilty
of the charge as set forth in the Indictment.
25. As to Count 25 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis
Not Guilty
X Guilty
of the charge as set forth in the Indictment.
26. As to Count 26 of the Indictment, we, the jury, find the defendant Bernetta
Lashay Willis
Not Guilty
x Guilty
of the charge as set forth in the Indictment.
SO SAY WE ALL.
DONE this 30% day of March, 2007.

LLL Ger L

Foreperson
